                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
                             OFFICE OF THE CLERK
                              Byron White United States Courthouse
                                       1823 Stout Street
                                    Denver, Colorado 80257
                                        (303) 844-3157
Elisabeth A. Shumaker                                                       Douglas E. Cressler
Clerk of Court                          June 28, 2013                       Chief Deputy Clerk




Mr. Benjamin A. Gonzales
Office of the Federal Public Defender
District of New Mexico
111 Lomas, NW, Suite 501
Albuquerque, NM 87102

RE:       12-2076, United States v. Stewart
          District docket: 1:10-CR-02055-BB-1

Dear Counsel:

Enclosed is a copy of the order and judgment issued today in this matter. The court has
entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

Pursuant to Fed. R. App. P. Rule 40, any petition for rehearing must be filed within 14
days after entry of judgment. Please note, however, that if the appeal is a civil case in
which the United States or its officer or agency is a party, any petition for rehearing must
be filed within 45 days after entry of judgment. Parties should consult both the Federal
Rules and local rules of this court with regard to applicable standards and requirements.
In particular, petitions for rehearing may not exceed 15 pages in length, and no answer is
permitted unless the court enters an order requiring a response. If requesting rehearing en
banc, the requesting party must file 18 paper copies with the clerk, in addition to
satisfying all Electronic Case Filing requirements. See Fed. R. App. P. Rules 35 and 40,
and 10th Cir. R.35 and 40 for further information governing petitions for rehearing.

Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court
cc:      Kimberly Ann Eaton Brawley
         Laura Fashing
         Gregory J. Fouratt



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